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                                   7                                  UNITED STATES DISTRICT COURT

                                   8                                 NORTHERN DISTRICT OF CALIFORNIA

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                                           JOSE ALBINO LUCERO JR.,
                                  10                                                        Case No. 15-cv-05107-RS
                                                        Plaintiff,
                                  11
                                                 v.                                         ORDER GRANTING MOTION FOR
                                  12                                                        ATTORNEY FEES AND INCENTIVE
Northern District of California
 United States District Court




                                           SOLARCITY CORP., et al.,                         AWARDS
                                  13
                                                        Defendants.
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                                  16            The application of plaintiff’s counsel to recover attorney fees was heard in conjunction

                                  17   with the motion for final approval of the parties’ settlement of this class action.1 Ninth Circuit law

                                  18   is settled that in a “common fund” case such as this one, it generally is appropriate to award fees

                                  19   either on the basis of a so-called “lodestar” calculation or by applying a “percentage of the fund”

                                  20   to determine the fee amount. See e.g. In re Bluetooth Headset Products Liab. Litig., 654 F.3d 935,

                                  21   942 (9th Cir. 2011) (“Where a settlement produces a common fund for the benefit of the entire

                                  22   class, courts have discretion to employ either the lodestar method or the percentage-of-recovery

                                  23   method.”); Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1047 (9th Cir. 2002) (“Under Ninth

                                  24   Circuit law, the district court has discretion in common fund cases to choose either the percentage-

                                  25   of-the-fund or the lodestar method.”).

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                                  27     At the hearing, the Court stated its intent to grant final approval of the settlement. That decision
                                       will be memorialized in writing upon the parties’ submission of a revised proposed order granting
                                  28   the motion and a proposed judgment.
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                                   1          Counsel seeks a fee award in the amount of $5 million, representing one-third of the

                                   2   settlement fund.2 The Ninth Circuit recognizes a 25% “benchmark” to be a useful starting point

                                   3   for analysis of percentage-based fee awards in common fund cases. Vizcaino, 290 F.3d at 1047–

                                   4   48. All the circumstances of the case, however, must be taken into consideration. Id.

                                   5   Additionally, even where “the primary basis of the fee award remains the percentage method, the

                                   6   lodestar may provide a useful perspective on the reasonableness of a given percentage award.” Id.

                                   7   at 1050.

                                   8          Here, plaintiff’s counsel achieved a favorable settlement projected to provide a substantial

                                   9   estimated cash payout per class member, although that estimate is based on the assumption that

                                  10   only a small fraction of the class will submit claims. The matter was vigorously and well-

                                  11   defended, and presented substantial risk to plaintiffs. That said, the litigation did not involve

                                  12   novel issues nor did it proceed in an unusual manner or direction. Furthermore, the fee request
Northern District of California
 United States District Court




                                  13   represents what would be a 4.1 multiplier to the asserted lodestar, even assuming no reduction to

                                  14   the hours or rates claimed would be in order. While a multiplier in that range may be permissible

                                  15   in some circumstances, plaintiffs have not shown it to be warranted here, or that an upward

                                  16   departure from the 25% benchmark is appropriate to that degree. Rather, upon review of the entire

                                  17   record, including counsel’s contingent risk, delay in payment, skill demonstrated, and results

                                  18   achieved, the Court finds an upward adjustment to a 30% recovery is warranted here. Although

                                  19   there may sometimes be sound reasons to apply such a percentage to the class’s net recovery after

                                  20   deducting administration costs and incentive awards, in this instance an appropriate award can be

                                  21   calculated by applying the percentage to the $15 million settlement fund. Accordingly, the fee

                                  22   application will be granted in the amount of $4,500,000, which, as previously noted, is inclusive

                                  23   of all expenses and costs incurred by counsel.

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                                  25     The motion also separately requests “reimbursement of $144,628.85 in out-of-pocket expenses.”
                                       That claim will be subsumed in the fees awarded under this order, as appears to have been
                                  26   contemplated in the parties” settlement agreement. See settlement agreement, para. 6.1 (“Class
                                       Counsel shall apply to the Court for attorney’s fees, expenses, and costs, totaling up to one-third of
                                  27   the Settlement Fund.”)

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                                   1          The representative plaintiffs in this action and in the related action that is encompassed in

                                   2   the settlement also seek incentive awards of $5000 each, for a total of $15,000. Radcliffe v.

                                   3   Experion Information Solutions, 715 F.3d 1157 (9th Cir. 2013) teaches that making incentive

                                   4   awards, “should not become routine practice” and that they must be “scrutinize[d]” carefully, so

                                   5   that they “do not undermine the adequacy of the class representatives.” 715 F. 3d at 1160. The

                                   6   greater the disparity between the awards and the recovery by other class members, the more cause

                                   7   there is for concern. Id. Given the estimated recovery of individual class members, and all other

                                   8   circumstances here, an appropriate incentive award to the representative plaintiffs is $2500 each,

                                   9   for a total of $7500.

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                                  11   IT IS SO ORDERED.

                                  12
Northern District of California
 United States District Court




                                  13   Dated: January 26, 2018

                                  14                                                   ______________________________________
                                                                                       RICHARD SEEBORG
                                  15                                                   United States District Judge
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